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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                     ORDER
                                       Criminal File No. 11-87 (MJD/JJK)

(1) JULIAN OKEAYAINNEH,
(4) NANA OSEI-TUTU,
(6) FATA LEETA SARNOR DAVID, and
(9) OLUGBENGA TEMIDAGO ADENIRAN,

                   Defendants.

      This matter was before the Court on September 29, 2011, for a status

conference. During the conference this Court ordered a continuance of the trial

date to February 7, 2012, and the defendants, including Defendants Julian

Okeayainneh, Nana Osei-Tutu, Fata Leeta Sarnor David, and Olugbenga

Temidago Adeniran, waived their rights to a speedy trial, allowing the Court to

exclude the continuance from the Speedy Trial Act computations in this case.

Although the Court weighed the need for a continuance based on the unusual

complexity of the case and the need for time for the parties to adequately prepare

for trial against Defendants’ and the public’s interest in a speedy trial, the Court

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did not contemporaneously explicitly state those reasons on the record when

continuing the trial. In the interest of completing the record, the Court now

explicitly articulates the basis upon which it granted the continuance on

September 29, 2011.

      Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of

justice served by the granting of the continuance in this matter outweigh the best

interest of the public and Defendants in a speedy trial. This finding is based on

the Court’s findings that this is an unusually complex case. There are thirteen

defendants in this indictment alone, many with an unusual plethora of identities

and aliases. This case involves allegations of an identity theft conspiracy that

spanned half a decade and stretched across the nation. The case has an

international reach and is unusually document intensive. The failure to grant

this continuance would unreasonably deny both Defendants and the

Government the reasonable time necessary for effective preparation for trial,

even while exercising due diligence.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      (1) Trial in this matter will commence on February 7, 2012; and



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     (2) the period from September 29, 2011, through February 7, 2012,
     shall be excluded from the Speedy Trial Act computations in this
     case.




Dated: January 24, 2012             s/ Michael J. Davis
                                    Michael J. Davis
                                    Chief Judge
                                    United States District Court




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